Case 2:22-cv-02227-KM-JSA Document 26 Filed 09/14/22 Page 1 of 2 PageID: 1222



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 ROLLIE BUCHANAN, et al., individually, No. 2:22-cv-02227-KM-JSA
 and on behalf of all others similarly situated,
                            Plaintiffs,           LOCAL CIV. RULE 7.1.1
              v.                                  DISCLOSURE OF THIRD-
                                                  PARTY LITIGATION
 VOLVO CAR USA, LLC, et al.,                      FUNDING
                            Defendants.


         DISCLOSURE OF THIRD-PARTY LITIGATION FUNDING

      Pursuant to Local Civil Rule 7.1.1, Plaintiffs’ Counsel represents that there is
no person or entity that is not a party and is providing funding for some or all of the
attorneys’ fees and expenses for the litigation on a non-recourse basis in exchange
for (1) a contingent financial interest based upon the results of the litigation or (2) a
non-monetary result that is not in the nature of a personal or bank loan, or insurance.
Dated: September 14, 2022                 BERGER MONTAGUE PC



                                          /s/ Russell D. Paul
                                          Russell D. Paul (NJ 037411989)
                                          Amey J. Park (NJ 070422014)
                                          Abigail J. Gertner (NJ 019632003)
                                          BERGER MONTAGUE PC
                                          1818 Market Street, Suite 3600
                                          Philadelphia, PA 19103
                                          Tel.: (215) 875-3000
                                          Fax: (215) 875-4604
                                          rpaul@bm.net
                                          apark@bm.net
                                          agertner@bm.net
Case 2:22-cv-02227-KM-JSA Document 26 Filed 09/14/22 Page 2 of 2 PageID: 1223




                                   Tarek H. Zohdy (pro hac vice)
                                   Cody R. Padgett (pro hac vice)
                                   Laura E. Goolsby (pro hac vice)
                                   CAPSTONE LAW APC
                                   1875 Century Park East, Suite 1000
                                   Los Angeles, California 90067
                                   Tel.: (310) 556-4811
                                   Fax: (310) 943-0396
                                   Tarek.Zohdy@capstonelawyers.com
                                   Cody.Padgett@capstonelawyers.com
                                   Laura.Goolsby@capstonelawyers.com

                                   Counsel for Plaintiffs and the Proposed
                                   Classes




                                      2
